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                     IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF TEXAS

                                   HOUSTON DIVISION

IONA WEST,
         PLAINTIFF,


V.                                           CASE ACTION NO. 4:18-CV-04627


HONEYWELL INTERNATIONAL INC.,
        DEFENDANT.

                  OPPOSED MOTION TO WITHDRAW AS COUNSEL

TO THE HONORABLE JUDGE OF SAID COURT:

       Now comes Gene A. Watkins of Sherman Watkins, PLLC, counsel for Plaintiff Iona

West, and brings this Motion to Withdraw as Counsel and in support thereof shows:

                                      BACKGROUND FACTS

       1. On or about November 15, 2018, Counsel was retained to represent the above-named

          Plaintiff, Iona West (“Ms. West”, “Plaintiffs”), in the current case for which Plaintiff

          filed a case against Defendant under numerous theories of discrimination.

       2. After written discovery, Counsel obtained Co-Counsel at no additional expense to the

          Plaintiff. At the outset of their new working relationship, things became terse based

          on Plaintiff’s requests that were not in line with Counsels’ strategy.

       3. Later, and with Plaintiff’s knowledge of Co-Counsel being retained she begins

          working against Counsel by refusing to take their advice. This continues to go on and

          has persisted throughout the duration of this case.
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       4. Although Ms. West’s antics were noticed, they were more of an annoyance than a

             hinderance to the case.

       5. However, at critical junctures of the case, i.e., summary judgment, mediation, and

             now, trial, Ms. West’s hysterics have become paramount and have been detrimental.

       6. Counsel thinks the facts of our interaction have led this to be an adversarial

             relationship and there is no effective communication.

       7. Counsel is of the thinking that the current working relationship is irreparable without

             chances of reconciliation.

       8. Plaintiff and the undersign disagree about strategy of the case and each party’s

             obligations to the other. The undersigned wishes to withdraw from his representation

             of Plaintiff. Continuing to work together is not feasible.

                                                ARGUMENT

       9.       Movant is attorney of record for Iona West.

       10.      Good cause exists for withdrawal as counsel in that Movant is unable to

effectively communicate with Iona West so as to be able to adequately represent Defendant.

       11.      Other good cause to withdraw exists as specified below:

                a.      Plaintiff has shown her disapproval of attorney, based on her rudimentary

       understanding of her case, employment law and law in toto.

                c.      Plaintiff has conspiratorially stated that counsel is making this case about

       himself when any and all legal advice given has been for the best interest of the client.

       Further, Counsel has even been willing to concede things to his detriment for the Client’s

       personal gain. She has questioned Counsel’s knowledge of her case. She has questioned

       Counsel’s competency, by stating my non-lawyer admin would’ve completed a task
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       better. She has questioned as to whether we were hiding things from her. Inferring that

       she would prefer other counsel.

               d.        Plaintiff has made a decision against counsel’s advice. As protocol in

Counsel’s firm, all clients are required to memorialize such disagreements. Plaintiff, prior to

getting memorialization letter, stated she wouldn’t sign it. Plaintiff still has not signed and is

requesting a recitation of how this case will be argued at trial, according to her liking.

               e.        Plaintiff has made this an adversarial relationship, which is irreparable and

not conducive to the effective representation of her.

       12.     This withdrawal is not sought for delay, but that Plaintiff might be represented by

counsel of her choice.

       13.     The last known address of Iona West is as follows: 4205 Alvin Street, Houston,

Texas 77051.

       14.     The last known mailing address of Iona West is as follows: PO Box 6801,

Bloomington, Indiana 47407.

       15.     A copy of this motion has been mailed to Iona West, who was thereby notified in

writing of his right to object to this motion.

       16.     The pending settings and deadlines in this case are as follows:

               a.        Status Conference is set for February 25, 2022 at 1:30 P.M.

       17.     A Motion for Continuance in this case was filed on January 26, 2022. The motion

       was granted on January 28, 2022. A Status Conference was set for February 25, 2022.

       There is currently no pending trial date at this time. Therefore, Plaintiff will have

       adequate time to find representation before trial.

                                                 PRAYER
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       WHEREFORE, PREMISES CONSIDERED, Movant prays that the Court will grant

his motion to withdraw on the face of this pleading. Alternatively, Movant requests that the

Court set this matter for a hearing so that Movant may present evidence in support of this

motion.

                                          Respectfully submitted,

                                          SHERMAN WATKINS PLLC
                                          1001 Texas Avenue
                                          HOUSTON, TX 77002
                                          Tel: (713) 224-5113
                                          Fax: (866) 560-8676



                                          By:/s/Gene A. Watkins
                                             Gene A. Watkins
                                             State Bar No. 24058954
                                             gwatkins@shermanwatkins.com
                                             Attorney for Iona West
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                                    NOTICE TO CLIENT

       This is to notify you that this Motion for Withdrawal of Counsel is set for hearing at the

time and place stated herein. You do not have to agree to this motion and if you contest the

withdrawal of Gene A. Watkins as attorney in this cause, you should appear at the hearing. If

you do not oppose Gene A. Watkins 's withdrawal as attorney of record in this case, you may

appear in court and inform the judge that you agree with this Motion. Included above is a list of

the pending settings and deadlines in your case, which you will have to keep even if the motion

is granted by the court.



                                            BY:
                                              Gene A. Watkins
                                              State Bar Number: 24058954
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                               CERTIFICATE OF SERVICE

       This is to certify that on February 18, 2022, a true and correct copy of the above and

foregoing document was served on the Plaintiff, by mail and E-mail to Iona West.



                                           /s/Gene A. Watkins
                                           Gene A. Watkins
